Stanbridge University - Academic Overview | College Evaluator Page 1 of 4
Case 2:19-cr-00145-JAK Document 147-1 Filed 09/25/19 Page 1of3 Page ID #:466

 

 

 

Home College Search Comparison Account Log In
tal College Evaluator
° e *
Stanbridge University «sees
Overview Admission Casts Financial Aid Enroliment Graduation Campus Life Programs
01 About 02 Admission 03 Cost of Attendance 04 Campus Life
Private (for-profit) 4 Years (or High) Irvine, CA Stanbridge University is a Private (for-profit) (4 Years or
Irvine, California. It has a total enrollment of 1,114 inclu
Degree-granting, not primarily baccalaureate or above Master's degree

graduate students and student to faculty ratio is 15:1. I

. mF) V4 OF ‘ Sf Ste fe itv i * . i
1,114 Students 60.23 % Acceptance Ratio 15:1 Student-Facuity Ratio primarily baccalaureate or above school by Carnegie Cl

degree is Master's degree. The acceptance ratio for unc

60.23% last year.

The Official TIAA® Site

Personalized Support For All

We Bring 100 Years Of Experience To Every Conversation. Contact Us Today!

tiaa.org OPEN

The Numbers Say it All about Stanbridge University

60.23% $33,041 1,1

ACCEPTANCE RATE UNDERGRADUATE TUITION & FEES STUDE

https://www.collegeevaluator.com/institute/stanbridge-college/ 9/24/2019

come
Stanbridge ae - Academic Overview | College Evaluator Page 2 of 4
Case 2:19-cr-00145-JAK Document 147-1 Filed 09/25/19 Page 2of3 Page ID #:467

 

KEY STATS FOR STANBRIDGE UNIVERSITY

 

Costs of Attendance = EXPENSIVE

Stanbridge University $33,041

ANUS. Colleges $18,355

 

 

Private (for-profit), 4 Years or High Collages $16,694
4 Years or High Colleges $22,271 Admission Chances — RELATIVELY DIFFICULT TO GET IN

Private (for-profit), 4 Years or High Colleges in California $20,651

 

All U.S. Colleges 66.99%
see ail cost items Private (for-profit), 4 Years

%
oF High Colleges 75.61%

AYears or High Colleges 66.20%

Private (for-profit), 4 Years

 

or High Colleges in 70.16%
California
Financial Helps — HIGH FINANCIAL HELP RATE
AIL U.S. Colleges 76.94%
Private (for-profit), 4 Years 6 4 so see all admission consideration

or High Colleges

 
  
   

4Years or High Colleges 82.17%
Private (for-profit), 4 Years

or High Colleges in 63.96%
California

  

98°

Financial Aid

Rates Student Population sMALL

Stanbridge University 1,114

based on 2015 date see all admission consideration
AILS. Colleges 20,523,036

Private (for-profit), 4 Years or High Colleges 983,584

4 Years or High Cal

 

3,854

Priv

 

for-profit), 4 Years or High Colleges in California 133,645
Graduation Rates HIGH COMPLETION RATE
see all enrollment items
AU U.S. Colleges AT.15%
Driv, at) i Voare
Prat forro4YEO™ ag.o55
4Years or High Colleges 48.69%

Private (for-profit), 4 Years
or High Colleges in 55.78% .
calc Major Programs — LIMITED PROGRAMS

 

AILU.S, Colleges 79
Private (for-profit), 4 Years 42

see all completion items of High Colleges
4 Years or High Colleges 109

https://www.collegeevaluator.com/institute/stanbridge-college/ 9/24/2019
Stanbridge University - Academic Overview | College Evaluator Page 3 of 4
Case 2:19-cr-00145-JAK Document 147-1 Filed 09/25/19 Page 30f3 Page ID #:468

Private (for-profit), 4 Years
of High Colleges in 30
California

Distance Learning LIMITED ONLINE CLASSES see all completion items

 

AILU.S. Colleges 8
Private (for-profit), 4 Years

A 23
or High Colleges
4 Years or High Colleges 15
Private (for-profit), 4 Years
or High Colleges in W
California

 

see all completion items

STANBRIDGE UNIVERSITY'S MISSION

Stanbridge College and its staff are dedicated to providing our students with the highest standards
of education and approved services in the industry. We believe that a high quality education is the
right of every individual and commit to the allocation of resources to provide for an excellent

learning environment, quality instruction and comprehensive career placement services.

CONTACT INFORMATION & ONLINE RESOURCES

LOCATION ACCREDITATION ONLINE RESOURCES
Stanbridge University 2041 Business Ctr Dr Stanbridge University is accredited by Stanbridge University Official Homepage
Ste 107, Accrediting Commission of Career Schools Net Price Calculator

and Colleges (02/29/2004 - Current). Veteran Resources

https://www.collegeevaluator.com/institute/stanbridge-college/ 9/24/2019
